        Case 1:18-mc-00458-LGS-OTW Document 1 Filed 10/05/18 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    IN RE:

    EX PARTE APPLICATION OF IRAQ
    TELECOM LIMITED FOR AN
    EXPEDITED ORDER TO TAKE                                 Case No. _____________
    DISCOVERY PURSUANT TO 28 U.S.C. §
    1782

                                        Applicant.

       EX PARTE APPLICATION OF IRAQ TELECOM LIMITED FOR EXPEDITED
     JUDICIAL ASSISTANCE PURSUANT TO 28 U.S.C. § 1782 TO TAKE DISCOVERY
       FROM CITIBANK, N.A., HSBC BANK (USA), N.A., STANDARD CHARTERED
     INTERNATIONAL (USD) LTD., THE BANK OF NEW YORK MELLON, N.A., AND
                           WELLS FARGO BANK, N.A.

         Applicant Iraq Telecom Limited (“Iraq Telecom”), pursuant to 28 U.S.C. § 1782 and

Federal Rules of Civil Procedure 26, 34, and 45, respectfully requests that this court grant an ex

parte order in the form attached as Exhibit F to the declaration of Kristin N. Tahler (the “Tahler

Declaration”) authorizing Iraq Telecom to obtain certain limited discovery1 for use in pending and

contemplated proceedings, including in (1) the Dubai International Financial Centre Courts

(“DIFC Courts”); (2) an arbitration administered by the International Chamber of Commerce

(“ICC”); and (3) an arbitration administered by the Lebanese Arbitration and Mediation Center

(“LAMC”) of the Chamber of Commerce, Industry and Agriculture of Beirut and Mount-Lebanon

(“CCIA-BML”). In support of this Application, Iraq Telecom submits a Memorandum of Law

and attaches the sworn declarations of (1) Kristin N. Tahler; (2) Graham Kenneth Lovett; (3)

Rajinder Bassi; (4) Nabil Abdel Malek; (5) Ehab Fekri Bassilios; and (6) Nicholas Bortman, with

accompanying exhibits.



1
         See Tahler Declaration, attached hereto as Appendix A, at Exhibits A-E (Draft Subpoenas).

                                                        1
     Case 1:18-mc-00458-LGS-OTW Document 1 Filed 10/05/18 Page 2 of 2




Date: October 5, 2018        Respectfully submitted,
                             /s/ Gabriel F. Soledad
                             QUINN EMANUEL URQUART & SULLIVAN, LLP

                             Gabriel F. Soledad, Esq.
                              gabrielsoledad@quinnemanuel.com
                             Kristin N. Tahler, Esq.
                              kristintahler@quinnemanuel.com
                             Lauren H. Dickie, Esq.
                              laurendickie@quinnemanuel.com

                             1300 I Street NW, Suite 900
                             Washington, DC 20005
                             Telephone: (202) 538-8000
                             Facsimile: (202) 538-8100

                             865 South Figueroa Street, 10th Floor
                             Los Angeles, CA 90017
                             Telephone: (213) 443-3000
                             Facsimile: (213) 443-3100

                             SKARZYNSKI BLACK LLC

                             James Sandnes, Esq.
                              jsandnes@skarzynski.com

                             One Battery Place Plaza
                             New York, NY 10004
                             Telephone: (212) 820-7700

                             Counsel for Applicant Iraq Telecom




                                     2
